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                                                                                                  Form 1-1


  UNITED STATES COURT OF INTERNATIONAL TRADE                                           FORM 1

    ALIVE DISTRIBUTOR INC.

                                      Plaintiff,
                                                                         SUMMONS
             v.
                                                                         Court No. 21-00236
   UNITED STATES,
                                      Defendant.

 TO:         The Attorney General and the Secretary of Homeland Security:

         PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
 U.S.C. § I581(a) to contest denial of the protest specified below (and the protests listed in the
 attached schedule).
                                                               Isl Mario Toscano
                                                               Clerk of the Court


                                                   PROTEST
   Port of
              Los Angeles/Long Beach                      Date Protest      04/22/21
   Entry:                                                 Filed:

  Protest                                                 Date Protest      05/10/21
  Number:         2704-21-154786                          Denied:

  Importer:       Alive Distributor Inc.

  Category of       Garments
  Merchandise:


                               ENTRIES INVOLVED IN ABOVE PROTEST
       Entry                Date of           Date of         Entry              Date of         Date of
      Number                 Entry          Liquidation      Number               Entry        Liquidation
  014-2110975-6            03/11/21




 Port Director,                                            Stein Shostak Shostak Pollack & O'Hara, LLP
                                                           865 S. Figueroa St., Ste. 1388
U.S. Customs and Border Protection
                                                           Los Angeles, CA 90017 4
301 E. Ocean Blvd., Suite 1400
                                                           Tel: (213) 630-8888
Long Beach, CA 90802
                                                           elon@steinshostak.com
 Address of Customs Port in                                 Name, Address, Telephone Number
 Which Protest was Denied                                   and E-mail Address of Plaintiff's Attorney
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                                                                                                               Form 1-2




                             CONTESTED ADMINISTRATIVE DECISION

                                        Aporaised Value of Merchandise
                                              Statutory Basis                            Statement of Value


  Appraised:




  Protest Claim:



                                           Classification, Rate or Amount
                                              Assessed                                      Protest Claim
                          Paragraph or                                         Paragraph or
    Merchandise           Item Number                          Rate            Item Number                      Rate




                                              Other
 State Specifically the Decision [as Described in 19 U.S.C. § l 514(a)] and the Protest Claim:
  Refusal to admit garments and exclude from entry.


 The issue which was common to all such denied protests:
  Whether Customs' decision to exclude the merchandise from entry is lawful. Alive Distributor Inc.
  claims the goods were entered in proper form and the importer furnished Customs with all
  appropriate documentation showing that it is the purchaser and owner of the garments.
                                      ..
Every de111ed protest included m this civil action was filed by the same above-named 1111porter, or by an authorized person
in the importer's behalf. The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at
the port of entry unless otherwise shown.

                                                                 /s/Elon A. Pollack
                                                                  Signature of Plaintiffs Attorney
                                                                 May 19, 2021
                                                                    Date
